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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Eastern District of Missouri


                   United States of America                            )
                                  v.                                   )
                                                                       )      Case No.      4:20-MJ-6127 PLC
                       DEVANTE COFFIE
                                                                       )
                              Defendant                                )

                                        ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

     Upon the

               0 Motion of the Government attorney pursuant to 18 U.S.C. § 3142(±)(1), or
               ~ Motion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(±)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under§ 3142(e)

  0 A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
           0 (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(±)(1):
               O(a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                  § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
               0 (b) an offense for which the maximum sentence is life imprisonment or death; or
               0 (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                  Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                  (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
               0 (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                  (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                  described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                  jurisdiction had existed, or a combination of such offenses; or
               0 (e) any felony that is not otherwise a crime of violence but involves:
                  (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                  (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
           0 (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(±)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
           0 (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
           0 (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   DB. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
    rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
    defendant as required and the safety of the community because there is probable cause to believe that the defendant
    committed one or more of the following offenses:
        D (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
           Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
           U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
        D (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
        D (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
           or more is prescribed;
        D (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
           imprisonment of 20 years or more is prescribed; or
        D (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(l), 2245,
           2251, 2251A, 2252(a)(l), 2252(a)(2), 2252(a)(3), 2252A(a)(l), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
           2260,2421,2422,2423,or2425.

   D C. Conclusions Regarding Applicability of Any Presumption Established Above

            D The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part III need not be completed.)

                OR

            D The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.

                                  Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   ~By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
    the safety of any other person and the community.

   ~By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ~ Weight of evidence against the defendant is strong
       0   Subject to lengthy period of incarceration if convicted
       D   Prior criminal history
       D   Participation in criminal activity while on probation, parole, or supervision
       ~   History of violence or use of weapons
       0   History of alcohol or substance abuse
       ~   Lack of stable employment
       D   Lack of stable residence
       D   Lack of financially responsible sureties


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        0   Lack of significant community or family ties to this district
        0   Significant family or other ties outside the United States
        0   Lack of legal status in the United States
        0   Subject to removal or deportation after serving any period of incarceration
        0   Prior failure to appear in court as ordered
        0   Prior attempt(s) to evade law enforcement
        0   Use ofalias(es) or false documents
        0   Background information unknown or unverified
        0   Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
 The Government charged Defendant by complaint with violation of 18 U.S.C. § 922(u) (theft of firearms from a federal firearms
 licensee). The Government moved for Defendant's detention on the grounds of: (1) flight risk; and (2) danger to the community.

 The Court held a hearing by video. Defendant appeared along with his counsel. The Government appeared through an assistant
 United States attorney. Defendant's Pretrial Services officer also appeared. The Pretrial Services report was filed following the
 hearing. The Court permitted the parties time to file a response. Neither party filed a response. The Court adopts the Report and
 incorporates it herein. The Pretrial Services officer recommended detention.

 At the hearing, the Government proffered the following in support of detention: Defendant was significantly involved in the incident
 forming the basis for the charge. Defendant recruited other people to join in the theft from the store. Defendant was in possession of
 some of the stolen firearms at the time of his arrest. Defendant does not have a stable source of income or a stable residence.
 Defendant has two pending cases in Tennessee. At the time of this charge, Defendant was on pretrial release in the Tennessee
 cases, which involve weapons and narcotics.

 Defense counsel proffered the following in support of release: Defendant attended college in Tennessee in 2018 and 2019.
 Defendant is no longer enrolled in college. Defendant is from the St. Louis area and lives with his mother. Defendant has no prior
 convictions.

 The Pretrial Services Report provides the following additional relevant information: Defendant is 19 years old and from the St. Louis
 area. Defendant attended college in Tennessee for a year. Defendant lives with his mother. Defendant is employed as a YouTube
 artist and model but earns no income from this employment. Defendant has two pending cases in Tennessee. Both involve weapons
 and narcotics. At the time of the alleged commission of the theft underlying the charges in this case, Defendant was on bond in both
 of the Tennessee cases. Defendant has a minor arrest record and one active warrant on a traffic case from St. Louis County.

 Based on the proffers of the parties, the information contained in the Pretrial Services Report and the Pretrial Services officer's
 recommendation, the Court concludes that the Government proved by clear and convincing evidence that Defendant is a threat to the
 community and a flight risk and no conditions or combination of conditions will assure his appearance or the safety of the community.
 Accordingly, the Court grants the Government's motion for pretrial detention.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General's designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the     e dant to a United Stat Marsh 1 fort purpose of an appearance in
connection with a court proceeding.

Date:                 06/10/2020
                                                                               United States Magistrate Judge




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